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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
                                          ***


UNITED STATES OF AMERICA,

                Plaintiff,                              02:07-CR-00080-CRW-PAL

v.
                                                                ORDER
MICHAEL JENKINS,

               Defendant.

               The court grants plaintiff’s unopposed motion for order waiving attorney client

privilege. The attorney-client privilege in this case as to defendant Michael Jenkins is waived

with respect to the issues raised in his 28 U.S.C. section 2255 motion. On or before June 11,

2012, Margaret Stanish shall provide plaintiff with affidavits addressing the allegations of

ineffective assistance of counsel in defendant’s 28 U.S.C. section 2255 motion.

               At 9:00 a.m. (PST) on May 17, 2012, the court will place a telephone conference

call to counsel to receive arguments on plaintiff’s resisted motion to compel defendant to turn

over funds. Michael Jenkins may participate by phone if Attorney Robert Story provides the

court a telephone number where Mr. Jenkins can be reached at the time of the hearing. This

hearing will also constitute a status conference on the final hearing scheduled to be held on July

31, 2012 in Las Vegas.

               IT IS SO ORDERED.

               Dated this 10th day of March, 2012.




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